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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
SCRANTON DIVISION

JOHN DOE 1, in his own capacity Civil Action No.
and as parent of child DOE 1,
JOHN DOE 2, in his own capacity
and as parent of child DOE 2,
JANE DOE 1, in her own capacity
and as parent of child DOE 3,
JANE DOE 2, in her own capacity
and as parent of child DOE 4 and
JANE DOE 3, in her own capacity
and as parent of child DOE 5

Plaintiffs

DELAWARE VALLEY SCHOOL DISTRICT,
JACK FISHER, JESSICA DECKER, DAWN
BUKAJ, BRIAN CARSO, CORY HOMER, PAM
LUTFY , FELICIA SHEEHAN, and ROSEMARY
WALSH, all individually elected officials

sued in their individual capacity and in their
official capacity as members of the

DELAWARE VALLEY SCHOOL

DISTRICT BOARD OF DIRECTORS,

a Pennsylvania elected legislative body

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Defendants.

 

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF FOR VIOLATIONS
OF THE AMERICANS WITH DISABILITIES ACT, SECTION 504 OF THE
REHABILITATION ACT, AND CONSTITUTIONALLY PROTECTED DUE PROCESS

RIGHTS UNDER 42U.S.C. § 1983

 

Plaintiffs, are all school-age children, some of whom have disabilities that render them
medically vulnerable to COVID-19 and others who are under age 12 and are ineligible to be

vaccinated, by and through their parents, bring this action for declaratory and injunctive relief on
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behalf of themselves and similarly situated children with disabilities who are at severe risk of illness
and injury due to their disabilities and allege as follows:
INTRODUCTION

1. This case involves students with certain disabilities' who, by reason of these
disabilities, are more medically vulnerable to severe infection and/or death from COVID-19. For
these students to enjoy safe passage into their existing school buildings, classrooms, and
extracurricular activities, they require the reasonable modification of universal masking untethered
to a purely voluntary parental opt-out.

2. The case also involves students who are children under the age of twelve and are
unable to get vaccinated, who do not want to be exposed to the increased risk of possible infection
from COVID-19 caused by the School District’s purely voluntary parental opt-out policy from
universal masking permitting students, (and employees), to attend school without wearing masks.

3. This case also involves students who are children above the age of twelve who may
have normal health, and do not want to be exposed to the increased risk of possible infection from
COVID-19 caused by the School District’s purely voluntary parental opt-out policy from universal
masking permitting students, (and employees), to attend school without wearing masks.

4. On January 29, 2021, the Center for Disease Control ("CDC") entered an Order

requiring universal masking on public transportation, including school buses, in order to limit the

risk of exposure to infection from COVID-19.?

 

' The disabilities may include one or more of the following: asthma, ADHD, immunocompromised children
with medical complexity, genetic, neurologic, metabolic conditions, or with congenital heart disease, obesity,
diabetes, asthma or chronic lung disease, sickle cell disease, or immunosuppression.

* See Exhibit 1, the January 29, 2021 Order from the CDC.

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5. On August 31, 2021, due to the increase in the rate of infection from COVID-19,
Delta Variant, and because many school districts were permitting parents the option to have their
children not wear masks while in school, (a/k/a optional masking), the Acting Secretary of the
Pennsylvania Department of Health Ordered universal masking to be required for all school students
in Pennsylvania effective September 7, 2021.

6. On September 10, 2021, the Pennsylvania Department of Education sent a Directive
to all school districts in the Commonwealth, reinforcing with the school districts that parents do not
have an option to sign a waiver form to except their children from the Department of Health Order,
unless the parental waiver form is supported by medical documentation which provides verifiable
medical proof that the student requires an accommodation from a health risk to the student caused
by mask wearing.’

7. On September 28, 2021, the School Board, having full knowledge of the CDC Order,
the PADOH Order, and the PDE Directive, all requiring universal masking, voted in direct defiance
thereof by a 5-1 majority to permit parents to sign a waiver form to except their children from the
PADOH Order WITHOUT the provision of any supporting medical documentation.

8. The School Board’s vote, permits a voluntary opt-out of masking for any child based
purely upon parental choice. Such an opt-out—exercised by large numbers of students—is so gaping
that it has nullified the rights of students with disabilities, students under twelve years of age, and
all other students and employees, who require masking of others in order to enjoy safe, fundamental,

non-discriminatory access to their public institutions. Accordingly, court action is necessary to

 

> See Exhibit 2, the August 31, 2021 Order of the PADOH.
* See Exhibit 3, the September 10, 2021 Directive from the PDE.

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institute a mask mandate without a purely voluntary opt-out. This will eliminate the barrier to safe
access created by the School Board’s vote, by modifying rules, policies and practices.

9. In Pennsylvania school attendance is mandatory and, in return, Pennsylvania
Constitutionally guarantees a free education. Since attendance is mandatory, parents are faced with
the dilemma of having to place their children in an environment at school with an increased risk of
infection from COVID-19 from students not wearing masks, or facing possible fines and punishment
for keeping their child at home, or attempting to home-school which may be an impossible burden
on the parent, or paying money to send their child to a private school which the parent may be
financially unable to do.

10. With the surge of the Delta variant, the necessity for such universal masking without
a purely voluntary opt-out is greater now than it has ever been. Despite the surge of pediatric cases
of COVID-19, Defendants have failed to afford the reasonable accommodation of implementing a
universal masking policy that does not contain a voluntary opt-out.

11. Defendants’ actions have pitted children against children, while placing the health
and safety of medically vulnerable children with disabilities in danger, as well as children under the
age of twelve and the rest of the children and employees while in school and riding on school buses.
Defendants policy violates the federal rights of those children under: (1) the Americans with
Disabilities Act (ADA); (2) Section 504 of the Rehabilitation Act; (3) the CDC’s January 29, 2021
Order; (4) the August 31, 2021 Order PADOH; (5) the September 10, 2021 Directive from the PDE;

(6) the United States Constitution; (7) the Pennsylvania Constitution; (8) the Civil Rights of

Plaintiffs under 42 USCA §1983; and (9) the Equal Protection Clause.

12. Plaintiffs are asking this Court to enjoin and restrain Defendants from taking any

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other action to enforce such policy that is not in compliance with applicable law, and to restore the
status quo of universal masking and requiring parents who want an exception for their children from
universal masking to submit verifiable medical documentation of any medical, or mental harm, or
disability to their children caused by wearing a mask while attending school.

JURISDICTION AND VENUE

13. Plaintiffs incorporate the foregoing paragraphs as is set forth in full herein.

14. —_ This Court has subject matter jurisdiction over Plaintiffs' claims under 28 U.S.C.
§1331, 28 U.S.C. §§1343(a)@G), (4), 28 U.S.C. §§ 2201-2202, and 42 U.S.C. §1983.

15. This Court has subject matter jurisdiction over the ADA Title II and Section 504 of
the Rehabilitation Act claims in this case pursuant to 28 U.S.C. § 1331. Plaintiffs’ claims arise under
the laws of the United States and the relief sought herein is within the power of the Court to grant.
See 29 U.S.C. § 701, et seq. and 20 U.S.C. § 1681, et seq.

16. There exists an actual and justiciable controversy between Plaintiffs and Defendant
requiring resolution by this Court.

17. Plaintiffs have no adequate remedy at law.

18. | Venue is proper before the United States District Court for the Middle District of
Pennsylvania, Scranton Division, under 28 U.S.C. §1391 because all parties reside or otherwise are
found herein, and all acts and omissions giving rise to Plaintiffs’ claims occurred in the Middle
District of Pennsylvania.

19. The Court has personal jurisdiction over the School District, which is a public school

district head quartered in Pike County, Pennsylvania.
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PARTIES
The Plaintiffs

20. JOHN DOE 1, in his own capacity and as parent of child DOE 1.

21. JOHN DOE 2, in his own capacity and as parent of child DOE 2.

22. JANE DOE 1, in her own capacity and as parent of child DOE 3.

23. JANE DOE 2, in her own capacity and as parent of child DOE 4.

24. JANE DOE 33, in her own capacity and as parent of child DOE 5.

25. One or more of the children are disabled and medically fragile, with medical
conditions which place them at high-risk for adverse reaction to COVID-19 infection including
serious illness and/or death, as well as because of the number of unmasked students in the school
buildings, which increases the risk of exposure to COVID-19, the one or more children with
disabilities are limited in where they may go in the school building, are prevented from moving in
the hallways and prevented from attending classes, including art, music, and gym.

26. Oneormore of the children are under the age of twelve and are unable to be protected
from COVID-19 via a vaccine.

27. One or more of the children are over the age of twelve and do not want to be exposed
to an increased risk of infection from COVID-19 because of the School Board’s affirmative act of
voting to permit purely voluntary parental opt-out from universal masking.

The Defendants

28. Defendant School District is a municipal organization made up of nine individual

school directors residing and conducting business in Pike County, Pennsylvania.

29. Defendant School Board is an elected school board residing and conducting business

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in Pike County, Pennsylvania.

30. Upon information and belief, Defendant, Jack Fisher, is Board President, a Pike
County resident and member of the School Board, sued here in his individual and representative
capacity.

31. | Upon information and belief, Defendant, Jessica Decker, is Board Vice-President, a
Pike County resident and member of the School Board, sued here in her individual and representative
capacity.

32. Upon information and belief, Defendant, Dawn Bukaj, is a Pike County resident and
member of the School Board, sued here in her individual and representative capacity.

33. Upon information and belief, Defendant, Brian Carso, is a Pike County resident and
member of the School Board, sued here in his individual and representative capacity.

34. | Upon information and belief, Defendant, Cory Homer, is a Pike County resident and
member of the School Board, sued here in his individual and representative capacity.

35. Upon information and belief, Defendant, Pam Lutfy, is a Pike County resident and
member of the School Board, sued here in her individual and representative capacity.

36. Upon information and belief, Defendant, Felicia Sheehan, is a Pike County resident
and member of the School Board, sued here in her individual and representative capacity.

37. Upon information and belief, Defendant, Rosemary Walsh, is a Pike County resident
and member of the School Board, sued here in her individual and representative capacity.

38. Defendant School District and School Board are “distinct legal entit[ies] with the
capacity to be sued for injuries incurred as a result of the execution of its statutory duties and

responsibilities.” Thus, they are a “public entity” within the meaning of the Americans with

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Disabilities Act, 28 C.F.R. §35.104, and receives federal financial assistance within the meaning of
the Rehabilitation Act, 29 U.S.C. §794(a).
FACTS

I. COVID-19 and its Delta Variant Spread Through the Breath of Others

39. Plaintiffs incorporate the foregoing paragraphs as is set forth in full herein

40. COVID-19 is an extremely infectious and deadly disease that is transmitted from
person to person.

41. Experts agree that COVID-19 is primarily spread through respiratory droplets emitted
when people cough, sneeze, talk, or even breathe that are then inhaled by people nearby.°

42. Asymptomatic carriers of COVID-19 can also transmit the disease. Persons who lack
symptoms of COVID-19 (“asymptomatic”) or do not yet know they have COVID-19
(“presymptomatic”) may feel perfectly fine. However, they are estimated to account for more than
50% of transmissions.°

43. The current, most prevalent variant of COVID-19, known as the Delta variant, is

extremely infectious and is spread much more readily than even the original SARS-CoV-2 strain.”

 

5 CDC, Scientific Brief: SARS-CoV-2 Transmission, May 7, 2021,
hitps://www.cdc.gov/coronavirus/20 1 9-ncov/science/science-briefs/sars-cov-2-transmission.html (“The principal
mode by which people are infected with [COVID-19] is through exposure to respiratory fluids carrying infectious
virus. Exposure occurs in three principal ways: (1) inhalation of very fine respiratory droplets and aerosol particles,
(2) deposition of respiratory droplets and particles on exposed mucous membranes in the mouth, nose, or eye by
direct splashes and sprays, and (3) touching mucous membranes with hands that have been soiled either
directly by virus-containing respiratory fluids or indirectly by touching surfaces with virus on them.”).

° Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2, available at

https://www.cdc.gov/coronavirus/20 1 9-ncov/science/science-briefs/masking-science-sars-cov2.html

7 CDC, Delta Variant: What We Know About the Science, Aug. 6, 2021,
https://www.cdc.gov/coronavirus/20 19-ncov/variants/delta-variant.html (noting that the Delta variant is “more than
2X as contagious as previous variants” and studies indicated that “patients infected with the Delta variant were more
likely to be hospitalized”).

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44, On August 31, 2021, due to the increase in the rate of infection from COVID-19,
Delta Variant, and because many school districts were permitting parents the option to have their
children not wear masks while in school, (a/k/a optional masking), the Acting Secretary of the
Pennsylvania Department of Health Ordered universal masking to be required for all school students
in Pennsylvania, effective September 7, 2021.

45. There is no cure for COVID-19. The vaccine is also only currently approved for
individuals 12 years and older and can prove less effective for those individuals with weakened or
compromised immune systems who are unable to produce a robust immune response to the vaccine.

46. School-aged children with certain disabilities, including a range of underlying medical
conditions, face a higher rate of severe illness from COVID-19 as compared to other children
without those underlying medical conditions. According to the CDC, “children with medical
complexity, with genetic, neurologic, metabolic conditions, or with congenital heart disease can be
at increased risk for severe illness from COVID-19.”° And, as with adults who face increased risks,
“children with obesity, diabetes, asthma or chronic lung disease, sickle cell disease, or
immunosuppression can also be at increased risk for severe illness from COVID-19.”"°

47. Upon information and belief, the schools located within Pike County regularly serve
students with these exact disabilities—moderate to severe asthma, chronic lung and heart conditions,
cerebral palsy, Down syndrome, obesity, type-2 diabetes, and weakened immune systems impact a

significant portion of the population. Asthma alone impacts 7.99% of the School District’s school

 

8 See Exhibit 2, August 31, 2021, Order of the Acting Secretary of the Pennsylvania Department of Health.

” Centers for Disease Control, COVID-19: People with Certain Medical Conditions, May 13, 2021,
https://www.cdc.gov/coronavirus/20 19-ncov/need-extra-precautions/people-with-medical-conditions.html

Old.
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age children."'
A. The necessity of masking for safe access to school.
48. | Washing hands, cleaning surfaces, introducing new air filters are some examples of

modifications that may reduce some risk of COVID transmission. But those are not enough for
children with disabilities, and they are not even the most effective means.

49. For school age children who are unable to be vaccinated or whose disabilities result
in a less robust response to the vaccine, the risk of contracting COVID-19 is most successfully
mitigated through universal masking and social distancing. The ABC Science Collaborative, led by
top physicians on the staff of Duke University, found that masking was effective in preventing
in-school COVID-19 transmission regardless of the physical distance maintained between children
as part of social-distancing efforts.’

50. Moreover, “when teachers, staff, and students consistently and correctly wear a mask,
they protect others as well as themselves.”!’ The cloth layer blocks the droplets from releasing into
the environment, along with the microorganisms these particles carry. To be more specific, masks
block the large droplets (“20-30 microns and up”) as well as finer droplets.'4

51. The Health and Safety Plan of the School District, which was submitted to the

Pennsylvania Department of Health, on July 15, 2021, sets forth that it was developed with the input

 

" See Exhibit 4 Board motion of September 28, 2021.

2 https://abcsciencecollaborative.org/wp-content/uploads/202 1/06/ABCs-Final-Report-June-202 1.06-
esig-DB-KZ-6-29-21 .pdf?foclid~IwAR3XDNVh44k8mrrfd2rcJz8rm-zOdtmlouMDkt-Tt3P3zXicWQeeUSE6WA8

° id.
'4 Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2,

available at https://www.cdc.gov/coronavirus/20 1 9-ncov/science/science-briefs/maskingscience-
sars-cov2.html (last visited Sept. 2, 2021).

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from Wayne Memorial Hospital.’°

52. | The Wayne Memorial Hospital has produced a video in collaboration with area
schools which explains the importance of masking to prevent the spread of COVID-19 in schools.
They recommend that students in schools wear masks since masks reduce the amount of particles
and droplets in the air which cause the spread of COVID-19.The video features Doctors Sean
McVeigh, pulmonologist/COVID Task Force and James Cruse, Family Medicine/) WMCHC Medical
Director.'°

53. Thus, the CDC,’ the American Academy of Pediatrics,'* and the Pennsylvania
Department of Health’? and Wayne Memorial Hospital, all have recommended universal masking
in schools in an effort to reduce the risk of transmission of COVID-19.

54. The Pennsylvania Department of Education also supports universal masking to reduce
the risk of transmission of COVID-19.”°

55. | Unmasked individuals are at risk of immediate and irreparable harm from COVID-19,
as well as at a higher risk of spreading COVID-19, and the consequences of serious illness and/or

death. The Acting Secretary of the Pennsylvania Department of Health entered the Order because:

 

'S See Exhibit 5, Health and Safety Plan dated July 15, 2021.

16 https://www.wmh.org/covid- 1 9-novel-coronavirus/

M7 CDC, Guidance for COVID-19 Prevention in K-12 Schools, updated Aug. 5, 2021,
https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-guidance.html

8 https://www.aap.org/en/pages/20 1 9-novel-coronavirus-covid-19-infections/clinical-guidance/covid-19-
planning-considerations-return-to-in-person-education-in-schools/

9 See Exhibit, 2, August 31, 2021 PADOH Order.
°° See Exhibit 3, September 10, 2021 Directive of the PDE.

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In accordance with the recommendations of the CDC and the AAP [(American

Academy of Pediatrics)] and based upon the rising case numbers and hospitalizations

in general in the Commonwealth, including the number of cases in our children, as

well as the need to protect and maintain in-person education for the health and

well-being of those children, I am issuing this Order to protect the ability of our

schools to continue to educate our children, and of our children to receive in-person

instruction in the safest environment possible.”!

56. Accordingly, the entirely reasonable modification being sought in this case is
community masking: protection of selves and others. Such a universal masking mandate has been

successfully implemented in public school districts across Pennsylvania.

B. A Purely Voluntary Opt-out of Masking Pits Children Against Each Other and
Creates Serious Risk of Injury and Death

57. As schools have reopened, COVID-19 infection numbers among school aged children
have continued to rise.”

58. | The School Board, on September 28, 2021, voted to by a 5-1 majority to permit
parents the option to sign a waiver form to except their children from the PADOH Order WITHOUT
supporting medical documentation, despite having full knowledge of the CDC Order, the PADOH
Order, the PDE Directive, requiring medical documentation if'a parent wanted their child not to wear
a mask.

59. This purely voluntary opt-out pits child-against-child, endangering the lives of
children with disabilities. Parents of school children with disabilities are forced to hope other parents
will require masking, and not opt-out. But when they do opt-out of masking, the children with

disabilities are subjected to serious reactions or even death as a result of COVID-19 being spread

 

21 See Exhibit 2, p. 2, August 31, 2021 Order of the PADOH.
?2 See Exhibit 2, p. 2, August 31, 2021 Order of the PADOH.

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through unmasked breathing, coughing, and sneezing.

60. Upon information and belief 640 parents in the School District have opted-out their
children without medical documentation, thereby, nullifying masking, spreading COVID, and
creating unnecessary risk of severe illness or even death for children with disabilities.

61. COVID-19is rapidly spreading through Pike County and the schools. Dr. Cruse, who
is the Chief Medical Officer for Wayne Memorial Community Health Centers (WMCHC), has
“responsibility for our population and community health initiatives ... [and is] the lead physician on
our outpatient response to COVID-19, [as well as] interacting with the Pennsylvania Department of
Health, keeping up with guidance on COVID-19.””

62. Dr. Cruse also consults with and advises five separate school districts, including
Delaware Valley on COVID-19 protocol. Only one - Delaware Valley has a mask-optional policy
in contradiction to the PADOH Order and against Dr. Cruse’s strong recommendations:

To my knowledge Delaware Valley School District is the only school district out of

the 5 local districts I advise that has this policy allowing parents of students to

opt-out of the mask requirement for any reason. Specifically, I know from regular

contact with their superintendents that Wallenpaupack, Wayne Highlands, and

Western Wayne School Districts require medical certification from a physician, nurse

practitioner, or physician's assistant that provides regular care to the student to obtain

a medical exemption from their mask mandate.”

63. According to Dr. Cruse, who has been monitoring COVID-19 in Wayne and Pike

Counties, last week saw a record surge in the number of cases of COVID-19 infection to the highest

it has been since January 17, 2021:

 

3 See Exhibit 6, Affidavit of Dr. James Cruse, Chief Medical Officer of Wayne Memorial Community
Health Centers.

4 See Exhibit 6, § 21, Dr. Cruse’s Affidavit.

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The first week in October, Pike and Wayne counties had a rate of 312 new cases per

100,000 residents per week. That is the highest number of new COVID infections in

Pike and Wayne Counties since January 17,2021 and one of the highest weekly case

counts of the entire pandemic.”

64. Dr. Cruse also explains that there have been 224 school age children diagnosed with
COVID-19 in the first two months of school this year in Pike County:

15. There has been a higher rate of cases of COVID-19 diagnosed in school-aged

children in Pike County so far during this school year than in last school year.

According to the PA Department of Health data, between the dates of 08/16/2021 and

10/16/2021 there have been 224 cases of COVID-19 diagnosed in children ages 5-18

years old in Pike County.”°

65. As of October 5, 2021, the number of COVID-19 infected students has continued to
grow in the Delaware Valley School District. “Since the 2021-22 school year began in late August,
DVSD has reported 80 cases of COVID-19, with more than 337 associated quarantines, compared
with 388 for the 2020-21 school term. With a school district population of 4,300, the more than 400
individuals affected so far this year reflect nearly 10% of the DVSD education community. As there
is currently no online school option offered, quarantined students have no access to school
instruction.”?’

66. Upon information and belief, the 80 confirmed COVID-19 infected cases so far this
school year is compared to only 7 last year in September when all of the students were wearing

masks.

67. In the School District, the Plaintiffs and those similarly situated attend classes in close

 

°5 See Exhibit 6, 98, Affidavit of Dr. Cruse.
6 Td. at (15.

27 See Exhibit 7, River Reporter, Article of October 5, 2021 at 8:55 am "DV board, administration spar
over masks."

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proximity to unmasked students, faculty, and staff.

68. The Plaintiffs and those similarly situated use the same hallways, bathrooms,
lunchrooms, and classrooms as their fellow-masked and unmasked classmates.

69. The Plaintiffs and those similarly situated are entitled to safe, fundamental and
non-discriminatory access to their school buildings with masked teachers, custodians, parent
volunteers, and students.

70.  Thenecessity for such masking is greater now than ever. Yet, the policy of the School
District allowing parents to opt-out ofa universal mask mandate policy subjects children with certain
disabilities to serious illness or even death by exercising their fundamental, non-discriminatory right
to access their public institutions.

Cc. The School District and the Board of Directors Duties and Responsibilities to
Provide a Safe and Healthy Environment for the School Children.

71. | Defendant School Board is charged by the State with the management and supervision
of the public elementary and secondary schools in the District. It derives its authority to govern the
local schools directly from the Constitution of the State of Pennsylvania and the rules and regulations
of the Pennsylvania Department of Education. School Board Governance and Operations Legal
Status - Board of School Directors, Code 2001, 24 P.S. 301 et seq.

72. The District is governed by a Board of School Directors consisting of nine (9)
directors, each of whom is elected on a regional basis for a term of four years. See Board of School
Directors, Code 2001, 24 P.S. 301 et seq.

73. “A school shall make specific and adequate provision for protecting the health and

safety of students and for safeguarding their physical welfare.” 22 Pa. Code, § 51.22 General Safety.

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74.  Aschool district is responsible “to comply with the requirements of Section 504 and
its implementing regulations at 34 CFR Part 104 (relating to nondiscrimination on the basis of
handicap in programs and activities receiving or benefiting from federal financial assistance) and
implements the statutory and regulatory requirements of Section 504.” 22 Pa. Code, § 15.1 (a)
Purpose.

75. “Section 504 and its accompanying regulations protect otherwise qualified
handicapped students who have physical, mental or health impairments from discrimination because
of those impairments.” 22 Pa. Code, § 15.1 (b) Purpose.

76. “The law and its regulations require public educational agencies to ensure that these
students have equal opportunity to participate in the school program and extracurricular activities
to the maximum extent appropriate to the ability of the protected handicapped student in question.”
22 Pa. Code, § 15.1 (b) Purpose.

77. “School districts are required to provide these students with the aids, services and
accommodations that are designed to meet the educational needs of protected handicapped students
as adequately as the needs of nonhandicapped students are met. These aids, services and
accommodations may include, but are not limited to, special transportation, modified equipment,
adjustments in the student’s roster or the administration of needed medication. For purposes of the
chapter, students protected by Section 504 are defined and identified as protected handicapped
students.” 22 Pa. Code, § 15.1 (b) Purpose.

78. “A school district shall provide each protected handicapped student enrolled in the
district, without cost to the student or family, those related aids, services or accommodations which

are needed to afford the student equal opportunity to participate in and obtain the benefits of the

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school program and extracurricular activities without discrimination and to the maximum extent
appropriate to the student’s abilities.” 22 Pa. Code, § 15.3. General.

D. Defendants’ Actions Constitute a Real and Immediate Violation of Title IT of the
Americans with Disabilities Act and Section 504 of the Rehabilitation Act.

79. Defendants currently refuse to provide reasonable accommodations to students with
disabilities by refusing to implement a Health and Safety Plan designed in accordance with current
federal, and state guidance.

80. Defendants’ Health and Safety Plan was last updated on July 15, 2021, before the
PADOH’s August 31, 2021 Order.”*

81. Defendants’ Health and Safety Plan sets forth that “mask wearing will be optional
while inside the school building and/or school grounds.”

82. Defendants’ Health and Safety Plan is violation of both the CDC and PADOH
requirements for universal masking.

83. Defendants’ refusal to provide reasonable accommodations in the form of an
appropriate health and safety plan puts Plaintiffs (namely, children with disabilities) at risk of death
and debilitating illness from COVID-19. Defendants’ refusal to provide reasonable accommodations
for students with disabilities thereby excludes Plaintiffs from their education.

84. Plaintiffs include students with disabilities, including certain underlying medical
conditions, which increase their risk of contracting COVID-19 and/or increase their risk of serious

complications or death from a COVID-19 infection.

 

8 See Exhibit 5, the July 16, 2021 School District Health and Safety Plan.
?° Id. at page 5.

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85. _ Title II of the Americans with Disabilities Act (“SADA”) and Section 504 of the
Rehabilitation Act (“Section 504" or “Rehabilitation Act’) provide broad protections for individuals
with disabilities. Both federal disability-rights laws prohibit outright exclusion, denial of equal
access, or unnecessary segregation for students with disabilities in public education. Both laws also
prohibit methods of administration that defeat the fundamental goals of public schools, that is, to
provide an education. Finally, both federal disability rights laws impose affirmative obligations on
covered entities to proactively provide reasonable modifications or reasonable accommodations to
ensure that individuals with disabilities have an equal opportunity to benefit from their public
education.

86. School districts with students who have disabilities, including underlying medical
conditions, that make them more likely to contract and/or become severely ill from a COVID-19
infection have a legal obligation to ensure that those children can attend school with the knowledge
that the school district has followed recommended protocols to ensure their safety. Currently, the
CDC’s, and the PADOH’s required protocol—as well as those recommended by Wayne Memorial
Hospital, the American Academy of Pediatrics and the American Medical Association—include

universal masking.

E. The Board's Vote on September 28, 2021, Which Increased the Risk of
Exposure to Covid-19 Through Optional Masking, Violates the Due Process

Rights of Plaintiffs.
87. No harm will come to Defendant in implementing a health and safety plan which
conforms to the federal and state requirements for universal masking and requiring parents to submit

medical documentation if they want their child to be exempted from wearing a mask. Defendant

successfully implemented a health and safety plan during the 2020/2021 academic school year which

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included universal masking and required parents to submit medical documentation if they wanted
their child to be exempted from wearing a mask.

88. Defendants’ refusal to allow disabled or concerned children to safely access their
education is in direct conflict with the express requirements of the ADA, which Congress created
to serve the strong public interest in seeing persons with disabilities treated equally and fairly by
society.

89. The School Board’s Policy Manual sets forth: “In order to safeguard the school
community from the spread of certain communicable diseases, the Board requires that guidance and
orders from state and local health officials, established Board policy and administrative regulations,
and Board-approved health and safety plans be followed by students, parents/guardians and district
staff.” See Delaware Valley School Board Policy Manual, Section 200 Pupils, Immunizations and
Communicable Diseases, Code 203.

90. | Upon information and belief, Board procedures and policies shall be consistent with
the law, have a rational and substantial relationship to a legitimate purpose of the Board, and be
directed toward the maintenance and support of a thorough and efficient system of public education
within the school district.

91. Upon information and belief the Board is responsible for acquiring reliable
information from responsible sources which will enable it to make the best possible decisions about
the scope and nature of the educational program, and the health and well-being of the students, the
faculty and the community.

92. One of those responsible sources for the School Board regaring COVID-19

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information and masking requirements is Wayne Memorial Hospital and Dr. James Cruse’, who,
along with “all of the medical leadership at Wayne Memorial have advised those school districts that

with this level of community transmission of COVID-19 that we strongly recommend universal

masking in schools.””!

F. On January 29, 2021, the CDC entered an order requiring universal masking
for students while riding school buses.

93. On January 29, 2021, the CDC entered an Order to prevent spread of the virus that
causes COVID-19. This Order was effective as of 11:59 p.m. February 1, 2021 and was published
in the Federal Register on February 3, 2021. See Centers for Disease Control and Prevention
Department of Health and Human Services Order under Section 361 of the Public Health Service
Act (42 U.s.c. 264) and 42 Code of Federal Regulations 70.2, 71.31(b), 71.32(b) Requirement for
Persons to Wear Masks While on Conveyances and at Transportation Hubs.”

94. The STATEMENT OF INTENT for the CDC Order of January 29, 2021, sets forth:

This Order shall be interpreted and implemented in a manner as to achieve the
following objectives:

Preservation of human life;

Maintaining a safe and secure operating transportation system;

Mitigating the further introduction, transmission, and spread of COVID-19 into the
United States and from one state or territory into any other state or territory; and
Supporting response efforts to COVID-19 at the Federal, state, local, territorial, and
tribal levels.**

95. The CDC Order of January 29, 2021 is enforced by regulations, but the CDC is

 

3° See Exhibit 6, Affidavit of Dr. James Cruse.
3! See Id. {7 (emphasis added).
>? See Exhibit 1.

33 See Exhibit 1.

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looking to avoid any criminal prosecution and instead is hoping for widespread cooperation and
"implementing additional civil measures enforcing the provisions of this Order", as follows:

To address the COVID-19 public health threat to transportation security, this Order
shall be enforced by the Transportation Security Administration under appropriate
statutory and regulatory authorities including the provisions of 49 U.S.C. 106, 114,
44902, 44903, and 46301; and 49 CFR part 1503, 1540.105, 1542.303, 1544.305 and
1546.105.

This Order shall be further enforced by other federal authorities and may be enforced
by cooperating state and local authorities through the provisions of 18 U.S.C. 3559,
3571; 42 U.S.C. 243, 268, 271; and 42 CFR 70.18 and 71.2.[33]

While this Order may be enforced and CDC reserves the right to enforce through
criminal penalties, CDC does not intend to rely primarily on these criminal penalties
but instead strongly encourages and anticipates widespread voluntary compliance as
well as support from other federal agencies in implementing additional civil
measures enforcing the provisions of this Order, to the extent permitted by law and
consistent with President Biden's Executive Order of January 21, 2021 (Promoting
COVID-19 Safety in Domestic and International Travel).”

96. | Wearing masks on public transportation, including school busses is mandatory and
subject to the January 29, 2021 Order of the CDC. See https://www.cdc.gov/coronavirus/
2019-ncov/travelers/face-masks-public-transportation.html, explaining in the FAQ's:

Are masks required on school buses?

Yes, passengers 2 years of age and older and drivers must wear a mask on buses or
vans operated by public or private school systems including early care and
education/child care programs, subject to the exclusions and exemptions in CDC's
Order. Operators of school buses should refer to the Department of Education's

COVID-19 Handbook pdf icon[PDF — 27 pages]external icon for additional
guidance.

See also https://www2.ed.gov/documents/coronavirus/reopening.pdf, explaining:

Transportation Considerations
CDC issued an order requiring wearing masks on all public conveyances, including

 

34 See Exhibit 1.

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on school buses. Accordingly, regardless of the mask policy at school, passengers and

drivers must wear a mask on school buses, including on buses operated by public and

private school systems, regardless of vaccination status, subject to the exclusions and

exemptions in CDC's order. [Emphasis added]

97. The School District has chosen to defy and to act in direct violation of the Federal
requirements under the January 29, 2021 Order of the CDC requiring students to wear masks while
traveling on school buses, by failing to meaningfully enforce universal masking.

98. | Uponinformation and belief, the combination of the District’s failure to follow proper
exemption procedures and the failure to meaningfully enforce universal masking on school buses
has resulted in numerous students on buses either not wearing masks, or improperly wearing masks.

G. The Board Members Offered No Valid Basis for Failing to Comply

99. The July 15, 2021 Health and Safety Plan, which predates the new guidance from the
PADOH issued on August 31, 2021, remained in effect for the first day of school in violation of the
PADOH Order.

100. During the September 28, 2021 meeting, the Board Members in favor of permitting
optional masking with parental approval without medical documentation, offered no medically
justifiable reasoning for failing to continue to follow the guidelines of Federal, State, and local
officials.

101. The excuses and explanations offered ranged from the completely inane, to
narcissistic and insulting, to complete conspiracy and further to complete the abrogation of the duty
assigned members of the Board to protect the safety and well-being of the students.

102. Commentary from various members of the Board indicated no reason for a lack of

compliance with expert guidelines beyond the arbitrary and capricious.

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H. The Board Members Offered No Basis for Defying the Universal Masking
Requirement Ordered by the PADOH and the CDC.

103. The Board Members who voted to not enforce the PADOH’s Order and the CDC's
Order requiring universal masking did not state that they spoke with any health professionals inside
or outside of the School District prior to concluding that universal masking should be at the parents’
option without medical documentation.

104. |The Board Members who voted to not enforce the PADOH’s and the CDC’s universal
masking Orders provided no information from any local, Commonwealth, or national health agency
to support their votes.

105. The Board members who voted to not enforce the PADOH’s Order and the CDC’s
universal masking Orders did not state that the District Physician supported their vote.

106. The Board members who voted to not enforce the PADOH’s Order and the CDC’s
universal masking Orders did not present any scientific or medical evidence that the masking
requirement for students riding school buses would harm any student or staff member.

107. The District’s “Student Face Covering - Temporary Exemption Form” violates the
ADA and Section 504 since the form acknowledges that not wearing a face covering causes their
child to “be at an increased risk of exposure of COVID-19 and contact tracing.” *°

108. The District’s parent optional masking policy violates the ADA and Section 504 to
the other students by failing to make an appropriate accommodation to the other students who are

wearing masks.

 

35 See Exhibit 8, Student Face Covering - Temporary Exemption Form. The school district also had an
exemption form which required medical documentation that had to be provided no later than September 30, 2021.
See Exhibit 9.

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109. Theaccommodation made by the School District for students exempted from wearing
a mask by the District, is unreasonable since it admittedly creates a higher risk of COVID-19
exposure to the student not wearing a mask and to all the other students on a bus or in a classroom
with that student.*° Moreover, there can be more than one student on a bus or in a classroom not
wearing a mask at the same time, further increasing the risk of exposure to infection from
COVID-19.

110. Dr. Cruse opines that there is a heightened risk of exposure without masks:

COVID-19 can spread quickly. In-person gatherings pose a heightened risk of case

transmission of COVID-19 as the spread of COVID-19 is more likely when people

are in close contact or proximity with one another (within about six feet). The risk

of transmission also increases when individuals gather in close proximity for

extended periods, and when they do so in enclosed (indoor) spaces.*”

111. Anaccommodation is unreasonable if it creates a direct threat to the health or safety
of other individuals in the workplace." See 42 U.S.C. § 12113(b); School Bd. of Nassau Cty. v.
Arline, 480 U.S. 273, 288 (1987)); see 29 CFR § 1630.2(r) (1998) (assessment of direct threat "shall
be based ona reasonable medical judgment that relies on the most current medical knowledge and/or
on the best available objective evidence").

112. In determining whether an individual poses a direct threat to the health or safety of
others, a public entity must make an individualized assessment, based on reasonable judgment that
relies on current medical knowledge or on the best available objective evidence, to ascertain: the

nature, duration, and severity of the risk; the probability that the potential injury will actually occur;

and whether reasonable modifications of policies, practices, or procedures or the provision of

 

3 See Exhibit 8.

37 See Exhibit 6, § 10.

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auxiliary aids or services will mitigate the risk. 28 C-F.R. § 35.139(b); see also Sch. Bd. of Nassau
Cnty., Fla. v. Arline, 480 U.S. 273, 288, 107 S.Ct. 1123, 94 L.Ed.2d 307 (U.S. 1987).

113. The District’s parental opt-out policy fails to meet the standards of the ADA and
Section 504 for providing protection for the student who is excepted from wearing a mask as well
as fails to provide protection for other disabled students, children under the age of 12 who cannot
be vaccinated, and all other students who ride school buses and/or attend school.

114. The District’s parental opt-out policy fails to meet the standards of the ADA and
Section 504 since it increases the risk of harm for the student who is excepted from wearing a mask,
as well as increases the risk of infection to other disabled students, children under the age of 12 who
cannot be vaccinated, and all other students who ride school buses and/or attend school.

I. The District's Decision to Violate the Masking Requirements of the PADOH and

the CDC Causes Immense and Irreparable Harm to Students, Staff, and the
Community, Who Are at Increased Risk of Developing COVID-19 and to
Students Who Are At Risk of Losing Critical In-Person Instruction Time.

115. The Delta variant of COVID-19 can be transmitted very well even by vaccinated
individuals.

116. Dr. James Cruse opines that “It is imminently important to have the school
community wear masks or face coverings without purely personal opt-out options.”

117. The Wayne Memorial Hospital has asked all Districts in Wayne and Pike Counties

to require masks consistent with the CDC and PADOH guidelines.”

118. The Delta variant of COVID-19 can be transmitted very well even by vaccinated

 

38 See Exhibit 6, J 13, Dr. Cruse’s Affidavit.

3° See Exhibit 6, Dr. Cruse’s Affidavit.

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individuals.”

119. Thus, 100% of the School Districts students, staff, and visitors are capable of
transmitting Covid-19 to one another or to somebody else in the community.”

120. Under the current policy of optional masking effectuated by the Board’s September
28, 2021 vote, students, staff and the community are likely to have vastly increased risk of
exposure.”

121. There are no health risks to wearing masks, and there is no evidence that masks affect
a child’s ability to focus or learn in school.”

122. In Dr. Cruse’s medical opinion, immediate and irreparable injury, loss, or damages
will result if universal masking is not required for all of the School District’s students and
employees.“

123. Dr. Cruse opines that without universal masking, children, teachers, and/or staffcould
suffer serious illness or death.

There have been clusters of outbreaks in our local schools where the epidemiological

evidence shows that the infections were transmitted in the classroom (due to the fact

that students sitting near each other in the classroom tested positive within a few days

of each other). There have been cases indicating that those students then brought the
infection home to their family members who subsequently became seriously ill.”

 

4 See Exhibit 6, Dr. Cruse’s Affidavit.

4 14.

Id. at 416.

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124. Simply stated, Dr. Cruse opines that “Enforced masking works.””°

125. Uponinformation and belief, as of the date of filing this Complaint, in this 2021/2022
school year, without the requirement of providing medical documentation, approximately 640
parents have applied for and received from the School District an exception. Every single exception
application was approved by the School District.

126. There are approximately 4,400 students in the School District. Therefore, just about
15% of the school district requested and were approved for exceptions, This means that the School
District is forcing a health risk onto the vast majority the students in the School District (85%) whose
parents accept and comply with universal masking.

127. Since the Schools opened this fall, prior to filing this Complaint, upwards of 337
students have lost in person instruction, which is the exact problem universal masking is supposed
to prevent. As there is currently no online school option offered, quarantined students have no access
to school instruction.””’

128. According to Dr. Cruse, no harm will come to Defendant in implementing a health
and safety plan that requires universal masking in conformance with CDC and PADOH
requirements:

There also exists no peer-reviewed scientific literature to support the false claims by

some persons that wearing a mask weakens a person's immune system, increases the

risk of infection with another pathogen (germ), nor has any other detrimental impact

on the physiology of healthy children. Likewise, there is no data to suggest that
wearing a mask has any negative or harmful consequences to a child's academic

 

“© See Exhibit 6, at ¢ 18, Dr. Cruse’s Affidavit.

47 See Exhibit 7, River Reporter, Article of October 5, 2021 at 8:55 am "DV board, administration spar
over masks."

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growth or emotional or behavioral development.”

129. Dr. Cruse has explained that granting an exception to universal masking should be
very rare. Indeed, having asthma “is generally not a reason for a mask exemption”:

My instruction to our health system's providers is that there are very few reasons that

a student cannot wear a mask and medical exemption from the mandate should be

rare and unusual. It would include things like severe developmental disability and

diagnosed panic disorder with agoraphobia, to the extent that the patient is under a

psychiatrist's care. Since asthmatics are higher risk of severe outcomes from

COVID-19 and masks reduce exposure to other infections that cause asthma

exacerbation, asthma is generally not a reason for a mask exemption.”

130. Defendant's refusal to allow disabled or concerned children to safely access their
education is in direct conflict with the express requirements of the ADA, which Congress created
to serve the strong public interest in seeing persons with disabilities treated equally and fairly by
society.

CAUSES OF ACTION
COUNT I

DISCRIMINATION ON THE BASIS OF DISABILITY
IN VIOLATION OF THE ADA

131. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.

132. “In the ADA, Congress provided [a] broad mandate” to “effectuate its sweeping
purpose[ to] ... forbid[] discrimination against disabled individuals in major areas of public life,
[including] ... public services ... “’ PGA Tour, Inc. v. Martin, 532 U.S. 661, 675 (2001). It is “a

milestone on the path to a more decent, tolerant, progressive society.” Id. (quoting Bd. of Trustees

 

48 See Exhibit 6, J 27, Dr. Cruse’s Affidavit.

14.422.

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of Univ. of Ala. v. Garrett, 531 U.S. 356, 375 (2001) (Kennedy, J., concurring)).

133. Enactment of the ADA reflected deeply held American ideals that treasure the
contributions that individuals can make when free from arbitrary, unjust, or outmoded societal
attitudes and practices that prevent the realization of their full potential.

134. The ADA embodies a public policy committed to the removal of a broad range of
impediments to the integration of people with disabilities into society and strengthening the federal
government’s role in enforcing the standards established by Congress.

135. The ADA requires that “no qualified individual with a disability shall, by reason of
such disability, be excluded from participation in or be denied the benefits of the services, programs,
or activities of a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. §
12132.

136. The School Board’s vote is denying local school districts the ability to provide these
similarly children in the instant matter with the protections they need to attend school safely. Further,
in permitting parents the option to opt-out their children without medical documentation, the Board
of Education have placed the lives of medically vulnerable children who have disabilities under the
ADA in danger. In doing so, Defendants have violated the regulations and provisions of the ADA:

a. Defendants are failing to make a reasonable modification, under
circumstances where it is required, in violation of 28 C.F.R. § 35.130(b)(7);
b. Defendants are excluding Plaintiffs from participation in public education in

violation of 42 U.S.C. § 12132 and 28 C.F.R. § 35.130;

c. Defendants are failing to make their services, programs, and activities “readily

accessible” to disabled individuals, in violation of 28 C.F.R. § 35.150;

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d. Defendants are administering a policy that has the effect of subjecting
qualified individuals with disabilities to discrimination on the basis of disability and that has
the purpose or effect of defeating or substantially impairing accomplishment of the objectives
of the public entity’s program with respect to individuals with disabilities, in violation of 28
C.F.R. § 35.130(b)(3).

137. The ADA further prohibits any public entity from, either directly or through
contractual or other arrangements, using any criteria or methods of administration that (a) have the
effect of subjecting qualified individuals with disabilities to discrimination on the basis of disability.
28 C.F.R. §§ 35.130 (b)(3)(i) & (aii).

138. Defendants, in their official capacity as Board Members and the School District do
not have the authority to circumvent the ADA and its protections for students with disabilities
through executive order or guidance requirements.

139. Excluding children with disabilities which make them more susceptible to serious
illness or death from COVID-19 from the public school classrooms by a failure or refusal to provide
a reasonable modification (universal masking) for their disability is precisely the type of
discrimination and segregation that the ADA and its amendments aim to prevent and specifically
prohibit.

COUNT II
VIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973
140. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.
141. Plaintiffs and those similarly situated are children with disabilities that substantially

limit one or more major life activity, and therefore, are considered to be persons with a disability

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under Section 504 of the Rehabilitation Act, as amended. See 29 U.S.C. § 705(9)(B), as amended
by the ADA Amendments Act, Pub. L. 110-325, Sec. 7, 122 Stat. 3553 (Sept. 25, 2008).

142. Plaintiffs are otherwise qualified under Section 504 of the Rehabilitation Act because
they meet the essential eligibility requirements for public education in the Commonwealth of
Pennsylvania.

143. Defendants, in their official capacities, are the recipients of federal financial
assistance.

144. The School Board’s vote is denying public health authorities the ability to provide
these similarly situated children with the accommodations they need to attend school safely.

145. Defendants are refusing to provide a universal masking policy as the accommodation
medically vulnerable children with disabilities need to attend school safely.

146. Defendants have violated the regulations and provisions of Section 504, and are
violating the regulations and provisions of Section 504, as follows:

a. Defendants are excluding Plaintiffs from participation in public education in
violation of 29 U.S.C. § 794(a) and 34 C.F.R. § 104.4(b)(1)(@);

b. Defendants are using methods of administration that have the effect of
subjecting Plaintiffs to discrimination on the basis of disability in violation of 34 C.F.R. §
104.4(b)(4);

c. Defendants are using methods of administration that have the effect or

purpose of defeating or substantially impairing accomplishment of the objectives of the

public education provided by the school district, in violation of 34 C.F.R. § 104.4(b)(4).

147. Defendants do not have the authority to circumvent Section 504 and its protections

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for students with disabilities through school board votes or guidance requirements.

148. Excluding children with disabilities which make them more susceptible to serious
illness or death from COVID-19 from public school classrooms by a failure or refusal to provide a
reasonable modification (universal masking) for their disability is precisely the type of discrimination

and segregation that Section 504 aims to prevent and specifically prohibit.

COUNT III

42 U.S.C. §1983 - VIOLATION OF SUBSTANTIVE DUE PROCESS
(5TH AND 14TH AMENDMENTS)

149. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.

150. Inorder establish a claim under section 1983 of the Civil Rights Act, a plaintiff must
prove a Defendant: (a) acted under the color of state law; (b) proximately causing; (c) the Plaintiff
to be deprived of a federally protected right. 42 U.S.C. §1983.

151. Inthe instant case, Defendants unquestionably acted under the color of state law.

152. Each Individual Defendant is an elected, voting member of the School District School
Board.

153. Under the Fifth Amendment to the Constitution, no person may be deprived of life,
liberty, or property without due process of law. U.S. Const. Ann., Amendment V.

154. The Fourteenth applies the protections of the Fifth Amendment to state actors. U.S.

Const. Ann., Amendment XTV.

155. Plaintiffs have constitutionally protected interests in the benefits that come from the
universal mask policy that was rescinded by the School Board vote, including the ability to pursue

a safe and healthy education.

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156. Defendants’ vote in contradiction of the requirement to follow CDC, PADOH and
PDE and other entity guidelines on universal masking unlawfully deprives Plaintiffs of these and
other constitutionally-protected interests without due process of law. Such deprivation was arbitrary,
capricious, based on ignorance without inquiry into facts, and in violation of the Board’s own
policies and other applicable laws. Such deprivation violates the Fifth and Fourteenth Amendments
of the Unites States Constitution.

157. Plaintiffs were harmed and continue to be harmed by these unlawful acts, including
by suffering irreparable harm including exposure to present and existential threats to health and
safety, threat of retribution and bullying, increased risk of serious bodily injury and/or death.

COUNT IV

42 U.S.C. §1983 - VIOLATION OF SUBSTANTIVE DUE PROCESS
(FOURTEENTH AMENDMENT)

158. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.

159. Inorder establish a claim under section 1983 of the Civil Rights Act, a plaintiff must
prove a Defendant: (a) acted under the color of state law; (b) proximately causing; (c) the Plaintiff
to be deprived of a federally protected right. 42 U.S.C. §1983.

160. In the instant case, Defendants unquestionably acted under the color of state law.

161. Each Individual Defendant is an elected, voting member of the School District School
Board.

162. Under the Fourteenth Amendment to the Constitution, and as established by state law
including the state-created danger doctrine, Plaintiffs have a fundamental right to a public education

and to an education in a safe and healthy environment.

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163. Plaintiffs were harmed and continue to be irreparably harmed by these unlawful acts
of Defendants, including by suffering irreparable harm including exposure to present and existential
threats to health and safety, threat of retribution and bullying, increased risk of serious bodily injury
and/or death.

COUNT V

42 U.S.C. §1983 —- RIGHT TO FREE ASSOCIATION
(FIRST AMENDMENT)

164. Plaintiffs incorporate the above averments as if set forth in full herein.

165. Inorder establish a claim under section 1983 of the Civil Rights Act, a plaintiff must
prove a Defendant: (a) acted under the color of state law; (b) proximately causing; (c) the Plaintiff
to be deprived of a federally protected right. 42 U.S.C. §1983.

166. Defendants deprived Plaintiffs of the right of free association guaranteed by the First
Amendment of the United States Constitution. Plaintiffs can no longer associate safely, or potentially
at all, because of Defendant’s unilateral revocation of the existing policy of following governmental
and other entity guidance, yet they are required under compulsory education laws to attend school.

167. Defendant’s actions have placed Plaintiffs in the unenviable position of having to
choose between ensuring their safety in an ongoing pandemic and receiving the federally protected
property right of an education guaranteed to all children K-12 by the Pennsylvania Constitution.

168. Deprivation of this federally protected right violates the United States Constitution's
First Amendment.

169. Plaintiffs were harmed and continue to be irreparably harmed by these unlawful acts,

including by suffering irreparable harm including exposure to present and existential threats to health

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and safety, threat of retribution and bullying, increased risk of serious bodily injury and/or death.
COUNT VI

VIOLATION OF FUNDAMENTAL RIGHTS PROTECTED UNDER THE
PENNSYLVANIA CONSTITUTION

170. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.

171. Article III, Section14, of the Pennsylvania Constitution provides that: “The General
Assembly shall provide for the maintenance and support of a thorough and efficient system of public
education to serve the needs of the Commonwealth.” PA CONST Art. 3, § 14.

172. Under the Pennsylvania Constitution, education is a fundamental right of every
student and Defendants have a duty to ensure that every student in Defendant School District is
treated equally and has the same fundamental opportunity for a “thorough and efficient” education.

173. It is believed and therefore averred that the acts and omissions of the Defendants, as
described above, are depriving Plaintiff children of the opportunity for a through and efficient
education guaranteed to them and are thus in violation of Article III, Section 14 of the Pennsylvania
Constitution.

174. Plaintiffs seek equitable and injunctive relief only under this Count.

REQUEST FOR TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

175. Plaintiffs incorporate the foregoing paragraphs as if set forth in full herein.
176. Plaintiffs seek a temporary restraining order enjoining the School Board from

permitting parents to exempt their children from universal masking without provision of medical

documentation.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that the Court grant the following relief:

Assume jurisdiction of this action;

Vacate and set aside the Defendant’s rescission of the CDC and PADOH adherent policy,
as well as any other action taken by Defendants to rescind the universal masking policy;

Declare that the Defendant’s Health and Safety Plan dated July 16, 2021 is void and without
legal force or effect;

Declare that the failure to abide by CDC or PADOH and PDE actions taken by Defendant
in violation of the ADA and Section 504 are contrary to the laws of the United States;

Declare that the failure to abide by CDC or PADOH and PDE actions taken by Defendant
to void the universal masking policies are in violation of the United States and Pennsylvania
Constitutions and contrary to the laws of the United States and Pennsylvania;

Declare that the rescission of the policy of following CDC and other government entity
guidelines, including the PADOH and PDE are invalid actions taken by Defendant to ignore
amask policy are arbitrary, capricious, based on ignorance due to failure to inquire into facts,
otherwise not in accordance with law, and without observance of required procedures;

Temporarily restrain, as well as preliminarily and permanently enjoin Defendants, their
agents, servants, employees, attorneys, and all persons in active concert or participation with
any of them, from implementing or enforcing a policy that violates the ADA or Section 504
and from taking any other action to enforce such policy that is not in compliance with
applicable law;

Temporarily restrain, as well as preliminarily and permanently enjoin Defendants, their
agents, servants, employees, attorneys, and all persons in active concert or participation with
any of them, from implementing or enforcing a policy contrary to the guidance of the CDC
and PADOH for COVID-19 relief, including not only Orders, but also recommendations for
universal masking made by the CDC, the PADOH and/or Wayne Memorial Hospital so long
as the County is in the substantial or high risk categories for COVID-19 infection and from

taking any other action to rescind such policy that is not in compliance with applicable law;
and

Award Plaintiffs their reasonable attorneys’ fees, costs, and expenses pursuant to 42 U.S.C.

§ 1988; and

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Grant such other and further relief as may be just, equitable, and proper including without

limitation, an award of attorneys' fees and costs to Plaintiff.

Date: October 18, 2021

Respectfully submitted,
Behrend Law Group, LLC

Isl Keancth . Sehreud

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Counsel for Plaintiffs

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CERTIFICATE OF SERVICE
[hereby certify that a true and correct copy of the foregoing Complaint was served by e-mail
on this 18" day of October 2021, addressed to the below parties and counsel:

Board President, Jack Fisher, jfisher@dvsd.org

Board Vice-President, Jessica Decker, jdecker@dvsd.org

Board Member, Dawn Bukaj, dbukaj@dvsd.org

Board Member, Brian Carso bcarso@dvsd.org

Board Member, Cory Homer chomer@dvsd.org

Board Member, Pam Lutfy plutfy@dvsd.org

Board Member, Felicia Sheehan fsheehan@dvsd.org

Board Member, Rosemary Walsh rwalsh@dvsd.org

Secretary, William Hessling, whessling@dvsd.org

Solicitor, Ashley Zimmerman, zimmerman@tristatetrial.com
Respectfully submitted,

Dated October 18, 2021 By: /s/Keateth ©. Eehneud

 

Kenneth R. Behrend

Counsel for Plaintiffs

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